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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02702-SKC

   KATELYN SCHILLER,

   Plaintiff,

   v.

   THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY
   SYSTEM, BY AND ON BEHALF OF COLORADO STATE UNIVERSITY;
   OVATIONS FOOD SERVICES, LP (d/b/a SPECTRA FOOD SERVICES AND
   HOSPITALITY);
   MICHAEL BEST; and
   SCOTT SCHELL,

   Defendants.

    DEFENDANT THE BOARD OF GOVERNORS OF THE COLORADO STATE
            UNIVERSITY SYSTEM’S 26(a)(1) DISCLOSURES

          Defendant, the Board of Governors of the Colorado State University System,

   by and on behalf of the Colorado State University (“CSU” or “the University”),

   submits the following disclosures pursuant to Fed. R. Civ. P. 26(a)(1):


                                INTRODUCTORY STATEMENT

          The following disclosures are made based on the information reasonably

   available to Defendant as of this date. By making these disclosures, Defendant does

   not represent that it is identifying every document, tangible thing or witness

   possibly relevant to this lawsuit. Defendant’s investigation of Plaintiff’s claims is

   continuing. Consequently, Defendant has not received or collected all conceivable

   documents relating to this action, interviewed all possible witnesses in this lawsuit
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   or completed investigation of its defenses to Plaintiff’s allegations. Defendant will

   supplement these disclosures as additional documents and/or witnesses with

   information relevant to this lawsuit are identified.

         These disclosures represent a good faith effort to identify information

   required by Rule 26(a)(1). Defendant does not waive its right to object to production

   of any document or tangible thing identified herein on the basis of any privilege, the

   work product doctrine, relevancy, or any other objection.

         Finally, Defendant’s disclosure and production of documents should not be

   construed as an admission or stipulation as to the authenticity or admissibility of

   the produced documents.

   I.    INDIVIDUALS WHO ARE LIKELY TO HAVE DISCOVERABLE
         INFORMATION RELEVANT TO THE PARTIES’ CLAIMS AND
         DEFENSES

         1.     Katelyn Schiller, c/o Baumgartner Law, LLC, 300 E. Hampden Ave.

   Ste. 401, Englewood, CO 80013, 720-626-9418; and Beem & Isley, P.C., 730 17th

   Street, Ste. 850, Denver, CO 80202, 303-849-8100. Ms. Schiller is Plaintiff in this

   matter and has knowledge and information regarding her claims, statements made

   by her and others, and all other allegations in the Second Amended Complaint of

   which she may have personal knowledge.

         2.     Michael Best, c/o Craig A. Silverman, Springer & Steinberg, P.C., 1600

   Broadway, Ste. 1200, Denver, CO 80202. Mr. Best may have knowledge and

   information regarding events related to allegations in the Second Amended

   Complaint of which he may have personal knowledge.



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         3.     Susie Wargin, c/o Craig A. Silverman, Springer & Steinberg, P.C., 1600

   Broadway, Ste. 1200, Denver, CO 80202. Ms. Wargin may have knowledge and

   information regarding events related to allegations in the Second Amended

   Complaint of which she may have personal knowledge.

         4.     Gretchin Tribken, c/o Jacqueline R. Guesno and Jonathan H. Geneus,

   Jackson Lewis, P.C., 950 17th Street, Ste. 2600, Denver, CO 80202. Ms. Tribken

   may have knowledge and information regarding events related to allegations in the

   Second Amended Complaint of which she may have personal knowledge.

         5.     Joe Parker, CSU Athletics Director. Mr. Parker may be contacted

   through counsel at the Office of the Attorney General. Mr. Parker may have

   information and knowledge regarding statements made by Plaintiff and all other

   allegations in the Second Amended Complaint of which he may have personal

   knowledge.

         6.     Scott Schell, c/o Jeffrey S. Pagliuca, Haddon, Morgan and Foreman,

   P.C., 150 East 10th Ave, Denver, CO 80203. Mr. Schell may have knowledge and

   information regarding events related to allegations in the Second Amended

   Complaint of which he may have personal knowledge.

         7.     Shawn Sumstein, c/o Jacqueline R. Guesno and Jonathan H. Geneus,

   Jackson Lewis, P.C., 950 17th Street, Ste. 2600, Denver, CO 80202. Mr. Sumstein

   may have knowledge and information regarding events related to allegations in the

   Second Amended Complaint of which he may have personal knowledge.




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         8.     Karla Lewis, c/o Jacqueline R. Guesno and Jonathan H. Geneus,

   Jackson Lewis, P.C., 950 17th Street, Ste. 2600, Denver, CO 80202. Ms. Lewis may

   have knowledge and information regarding events related to allegations in the

   Second Amended Complaint of which she may have personal knowledge.

         9.     Steve Cottingham, CSU Deputy Athletics Director. Mr. Cottingham

   may be contacted through counsel at the Office of the Attorney General. Mr.

   Cottingham may have information and knowledge regarding statements made by

   Plaintiff and all other allegations in the Second Amended Complaint of which he

   may have personal knowledge.

         10.    David Crum, CSU Athletics. Mr. Crum may be contacted through

   counsel at the Office of the Attorney General. Mr. Crum may have information and

   knowledge regarding statements made by Plaintiff and all other allegations in the

   Second Amended Complaint of which he may have personal knowledge.

         11.    Sean Fitzpatrick, CSU Police Department Detective. Detective

   Fitzpatrick may be contacted through counsel at the Office of the Attorney General.

   Detective Fitzpatrick conducted a criminal investigation on this matter and may

   have information and knowledge regarding statements made by Plaintiff and all

   other allegations in the Second Amended Complaint of which he may have personal

   knowledge.

         12.    Amanda Duhon, Deputy District Attorney for Eighth Judicial District.

   District Attorney’s Office, 201 LaPorte Ave., Ste. 200, Fort Collins, CO 80521.

   Deputy District Attorney Duhon screened the criminal case for a felony filing



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   decision in the Eighth Judicial District and may have information and knowledge

   regarding statements she made and all other allegations in the Second Amended

   Complaint of which she may have personal knowledge.

         13.    Jay McMillan, CSU Athletics. Mr. McMillan may be contacted through

   counsel at the Office of the Attorney General. Mr. McMillan is Mr. Crum’s

   assistant and may have information and knowledge regarding statements made by

   Plaintiff and all other allegations in the Second Amended Complaint of which he

   may have personal knowledge.

         14.    Savionne Guidel, CSU Athletics Box Office Attendant. Ms. Guidel’s

   contact information is currently unknown. Ms. Guidel may have information and

   knowledge regarding statements made by Plaintiff and all other allegations in the

   Second Amended Complaint of which she may have personal knowledge.

         15.    Marc and Jennifer Reck, adjacent loge box occupants. Mr. and Mrs.

   Reck’s contact information is currently unknown. Mr. and Mrs. Reck may have

   information and knowledge regarding statements made by Plaintiff and all other

   allegations in the Second Amended Complaint of which they may have personal

   knowledge.

         16.    Jim, Jan, and Marcus Kincaid, adjacent loge box occupants. The

   Kincaid family’s contact information is currently unknown. The Kincaids may have

   information and knowledge regarding statements made by Plaintiff and all other

   allegations in the Second Amended Complaint of which they may have personal

   knowledge.



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         17.    Ryun Williams, CSU Athletics. Mr. Williams may be contacted through

   counsel at the Office of the Attorney General. Mr. Williams may have information

   and knowledge regarding statements made by Plaintiff and all other allegations in

   the Second Amended Complaint of which he may have personal knowledge.

         18.    Mark Paquette, Associate Athletics Director for Facilities/Canvas

   Stadium Manager. Mr. Paquette may be contacted through counsel at the Office of

   the Attorney General. Mr. Paquette may have information and knowledge

   regarding statements made by Plaintiff and all other allegations in the Second

   Amended Complaint of which he may have personal knowledge.

         19.    Josh Sheeran, CSU Police Department. Mr. Sheeran may be contacted

   through counsel at the Office of the Attorney General. Mr. Sheeran may have

   information and knowledge regarding statements made by Plaintiff and all other

   allegations in the Second Amended Complaint of which he may have personal

   knowledge.

         20.    Derek Smith, CSU Police Department. Mr. Smith may be contacted

   through counsel at the Office of the Attorney General. Mr. Smith may have

   information and knowledge regarding statements made by Plaintiff and all other

   allegations in the Second Amended Complaint of which he may have personal

   knowledge.

         21.    Jadon Dobbins, CSU Police Department. Mr. Dobbins may be

   contacted through counsel at the Office of the Attorney General. Mr. Dobbins may

   have information and knowledge regarding statements made by Plaintiff and all



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   other allegations in the Second Amended Complaint of which he may have personal

   knowledge.

         22.    Abigail Hall, Plaintiff Schiller’s roommate and server for loge box

   adjacent to Defendant Best’s. Ms. Hall’s contact information is currently unknown.

   Ms. Hall may have information and knowledge regarding statements made by

   Plaintiff and all other allegations in the Second Amended Complaint of which she

   may have personal knowledge.

         23.    Audrey Swenson, CSU Title IX Investigator. Ms. Swenson may be

   contacted through counsel at the Office of the Attorney General. Ms. Swenson may

   have information and knowledge regarding statements made by Plaintiff and all

   other allegations in the Second Amended Complaint of which she may have

   personal knowledge.

         24.    Courtney Kavanaugh, CSU Women and Gender Advocacy Center

   advocate. Ms. Kavanaugh may be contacted through counsel at the Office of the

   Attorney General. Ms. Kavanaugh may have information and knowledge regarding

   statements made by Plaintiff and all other allegations in the Second Amended

   Complaint of which she may have personal knowledge.

         25.    Any witnesses disclosed by Plaintiff.

         26.    Any witness necessary to authenticate any document or exhibit.

         27.    Any witness necessary for impeachment or rebuttal.




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   II.      DOCUMENTATION/EVIDENCE RELEVANT TO THE PARTIES’
            CLAIMS AND DEFENSES

            1.    CSUPD audio recordings – to be disclosed upon entry of a protective

   order and execution of appropriate FERPA waivers.

            2.    CSUPD video recordings – to be disclosed upon entry of a protective

   order.

            3.    CSUPD Axon audit logs – to be disclosed upon entry of a protective

   order.

            4.    Detective Fitzpatrick’s cell phone calls and SMS logs – to be disclosed

   upon entry of a protective order and execution of appropriate FERPA waivers.

            5.    CSUPD police report – to be disclosed upon entry of a protective order

   and execution of appropriate FERPA waivers.

            6.    Emails relating to case – to be disclosed upon entry of a protective

   order and execution of appropriate FERPA waivers.

            7.    Canvas Stadium Diagrams; CSU001-CSU004

            8.    Landmark Contract/amendments; CSU005-CSU034

            9.    Ovations Contract/amendments; CSU035-CSU063

            10.   CSU Title IX Report; CSU064-CSU079

            11.   Notice of Claim; CSU080-CSU084

            12.   Any document disclosed by any other party.

   III.     COMPUTATION OF DAMAGES

            The University is not requesting damages at this time, but will seek

   attorneys’ fees and costs as permitted by law.

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         IV.    INSURANCE INFORMATION

         The University is continuing to work to determine whether it has insurance

   coverage for these claims but has sufficient resources to satisfy any judgment that

   reasonably could be expected to be awarded as damages in this action.

         DATED this 26th day of January, 2021.

                                            PHILIP J. WEISER
                                            Attorney General

                                            /s/ Skip Spear
                                            Skippere Spear, No. 32601*
                                            Senior Assistant Attorney General

                                            ATTORNEY FOR DEFENDANT
                                            COLORADO STATE UNIVERSITY
                                            Ralph L. Carr Colorado Judicial Center
                                            1300 Broadway, 6th Floor
                                            Denver, CO 80203
                                            (720) 508-6140
                                            skip.spear@coag.gov
                                            *counsel of record




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                             CERTIFICATE OF SERVICE
         I certify that I served the foregoing Defendant the Board of

   Governors of the Colorado State University System’s 26(a)(1)

   Disclosures upon all parties herein by serving copies of same via email, this

   26th day of January, 2021 addressed as follows:

   S. Birk Baumgartner                          Jeffrey S. Pagliuca
   Sean M. Simeson                              Haddon, Morgan and Foreman, P.C.
   Baumgartner Law, LLC                         150 East 10th Avenue
   300 E. Hampden Ave, Ste. 401                 Denver, CO 80203
   Englewood, CO 80013
                                                Attorney for Defendant Schell
   Attorneys for Plaintiff
                                                Craig A. Silverman
   Clifford L. Beem                             Springer & Steinberg, P.C.
   A. Mark Isley                                1600 Broadway, Suite 1200
   Danielle C. Beem                             Denver, CO 80202
   Beem & Isley, P.C.
   730 17th Street, Ste. 850                    Attorney for Defendant Best
   Denver, CO 80202

   Attorneys for Plaintiff

   Jacqueline R. Guesno
   Jonathan H. Geneus
   Jackson Lewis P.C.
   950 17th Street, Suite 2600
   Denver, CO 80202

   Attorneys for Defendant Spectra

                                                /s/ Carmen Van Pelt




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